    Case 5:24-cr-00041-MTT-CHW         Document 36      Filed 03/26/25    Page 1 of 1



                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF GEORGIA
                                MACON DIVISION

 UNITED STATES OF AMERICA,                   )
                                             )
       v.                                    )   CASE NO. 5:24-CR-41 (MTT)
                                             )
 CHASON HAYES,                               )
                                             )
                       Defendant.            )
                                             )

                                        ORDER

      The defendant, by and through his counsel, has moved to continue this case until

the next trial term. Doc. 35. The government consents to the motion. Id. ¶ 7.

      Having considered the grounds for the motion, the Court, pursuant to 18 U.S.C. §

3161(h)(7)(A), finds the ends of justice served by granting this continuance outweigh the

best interests of the public and the defendant to a speedy trial. Accordingly, the motion

(Doc. 35) is GRANTED. The case is continued from the April term until the Court’s next

trial term presently scheduled for July 21, 2025. The corresponding delay shall be

deemed excludable pursuant to the provisions of the Speedy Trial Act, 18 U.S.C. §§

3161 et seq.

      SO ORDERED, this 26th day of March, 2025.

                                                 S/ Marc T. Treadwell
                                                 MARC T. TREADWELL, JUDGE
                                                 UNITED STATES DISTRICT COURT
